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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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       ENTTECH MEDIA GROUP LLC            Case No. 2:20-cv—06298-JWH (Ex)
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                  Plaintiff,              THIRD AMENDED COMPLAINT
12                                        FOR:
             v.
13                                           (1) VIOLATIONS OF DIGITAL
       OKULARITY, INC.; JON                  MILLENIUM COPYRIGHT
14     NICOLINI; BACKGRID USA, INC.;         ACT (“DMCA”) (17 U.S.C. §
       SPLASH NEWS AND PICTURE               512(F));
15     AGENCY, LLC; AND XPOSURE
       PHOTO AGENCY, INC.                    (2) VIOLATIONS OF
16                                           RACKETEER INFLUENCED
                  Defendants.                AND CORRUPT
17                                           ORGANIZATIONS ACT
                                             (RICO) (18 USC § 1962(C));
18                                           AND
19                                        DEMAND FOR TRIAL BY JURY
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                                THIRD AMENDED COMPLAINT
 1        Plaintiff ENTTech Media Group LLC (“Plaintiff”) by and for its Third Amended
 2 Complaint, alleges on personal knowledge as to its own actions, and upon information

 3 and belief as to the actions of others, as follows:
 4                                       THE PARTIES
 5        1.     Plaintiff ENTTech Media Group LLC is a Delaware limited liability
 6 company with a primary place of business in New York, New York.
 7        2.     Defendant Okularity, Inc. (“Okularity”) is a Wyoming corporation with a
 8 primary place of business in Beverly Hills, California.
 9        3.     Defendant Jon Nicolini (“Nicolini”) is an individual who, on information
10 and belief, has a primary place of business in Beverly Hills, California.
11        4.     Defendant BackGrid USA, Inc. (“BackGrid”) is a California corporation
12 with a primary place of business in Redondo Beach, California.
13        5.     Defendant Splash News and Picture Agency, LLC (“Splash”) is a Nevada
14 limited liability company with a primary place of business in Los Angeles, California.
15        6.     Defendant Xposure Photo Agency Inc. (“Xposure”) is a California
16 corporation with a primary place of business in Beverly Hills, California.

17        7.     Defendants BackGrid, Splash and Xposure are referred to herein as the
18 “Clearinghouse Defendants”
19        8.     Plaintiff is ignorant of the true names and capacities of defendants sued
20 herein as Does 1-10, inclusive, and therefore sues these defendants by such fictitious
21 names. Plaintiff will amend this Complaint to allege their true names and capacities
22 when ascertained. Plaintiff is informed and believes and thereon alleges that each of
23 these fictitiously named defendants is responsible in some manner for the occurrences
24 herein alleged, and that Plaintiff’s injuries as herein alleged were proximately caused by

25 the aforementioned defendants.
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                                  THIRD AMENDED COMPLAINT
 1                                      JURISDICTION
 2        9.     The Court has jurisdiction over the Plaintiff’s claims under 28 U.S.C. §
 3 1331 because they arise under a federal statute, the Digital Millennium Copyright Act
 4 (“DMCA”), 17 U.S.C. 512(f), and the Racketeer Influenced and Corrupt Organizations
 5 Act (“RICO”), 18 U.S.C. § 1962(c) and (d).
 6        10.    The Court has personal jurisdiction over Defendants because they reside in
 7 this district and engaged in the conduct detailed herein in this district.
 8        11.    The Court further has personal jurisdiction over all members of the
 9 Okularity Enterprise detailed herein under 18 U.S.C. § 1965(b), which provides for
10 nationwide service of process in RICO actions.
11              ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
12        12.    Defendants are engaged in a scheme to deprive Plaintiff and similar digital
13 media companies of their assets by unlawfully manipulating the take-down notice
14 provisions of the Digital Millennium Copyright Act (“DMCA”). Specifically,
15 Defendants have created software for the express purpose of disabling valuable
16 commercial accounts on social media platforms (in this case Instagram) so that they can

17 then demand extortionate sums (in this case over a million dollars) from the account
18 holders to have the accounts restored.
19        13.    The scheme operates in the shadows of the Copyright Act and the DMCA.
20 The DMCA provides a rapid procedure (referred to herein as a “DMCA Notice”) so that
21 copyright owners can protect the widespread proliferation of their content digitally. A
22 DMCA Notice requires a statement under penalty of perjury that “the complaining
23 party has a good faith belief that use of the material in the manner complained of is not
24 authorized by the copyright owner, its agent, or the law” (see 17 U.S.C. §

25 512(c)(3)(A)(v)) and that “the complaining party is authorized to act on behalf of the
26 owner of an exclusive right that is allegedly infringed” (see 17 U.S.C. §
27 512(c)(3)(A)(vi)).
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                                  THIRD AMENDED COMPLAINT
 1           14.    Most social media platforms, including Instagram, have policies whereby
 2 accounts are disabled once a certain amount of DMCA Notices have been submitted on

 3 a particular account. Once an account reaches this threshold, Instagram will not
 4 reinstate the account until the underlying copyright “dispute” is resolved. Because of
 5 the work associated with the identification and investigation of copyright claims, as well
 6 the DMCA’s penalties for misstatements, it is generally unlikely that owners of
 7 legitimate copyrights would abuse this system.
 8           15.    However, given the massive financial incentives provided to mercenary
 9 litigants by the Copyright Act, would-be claimants have leveraged advances in
10 technology to create economies of scale in pursuing claims. Specifically, Okularity has
11 developed software that crawls the internet for images that infringe on allegedly
12 protected works.1 Through its proprietary software, Okularity automatically generates
13 DMCA Notices to any social media platform, including Instagram, containing an image
14 in Okularity’s database. Okularity submits these notices without any of the analysis
15 required by the DMCA, let alone any demand letter or even a warning to the alleged
16 infringer. ENTTech is informed and believes that Nicolini’s subsequent declaration to

17 the contrary in this action on September 25, 2020 was untruthful. In truth, many or all
18 of the DMCA notices contained identical verbatim discussion of infringement and fair
19 use, which indicates that no actual analysis was truly performed before sending the
20 notices. Additionally, during telephone call on July 14, 2020 – prior to getting sued –
21 Nicolini admitted to ENTTech’s counsel that Okularity uses automated software to
22 generate DMCA notices. During the same call, Nicolini did not mention any purported
23 analysis by himself (or by anyone else) concerning (a) whether Okularity’s ostensible
24 principals (BackGrid, Splash and Xposure) possessed the exclusive right to enforce any

25 copyrights that the images might have infringed, (b) whether the social media use of the
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         Okularity is provided access to photographs by clearinghouse websites like BackGrid,
27 Splash, and Xposure who, on information and belief, have entered into profit-sharing
     contracts with Okularity, whereby the parties all share in the exploits of their scheme.
28                                             3
                                    THIRD AMENDED COMPLAINT
 1 image really did infringe any copyrights, or (c) whether the use of the image on social
 2 media was allowed by the “fair use” doctrine. In fact, during the telephone call on July

 3 14, 2020, Nicolini did not mention any analysis of anything; instead, he only stated that
 4 that Okularity uses automated software to generate DMCA notices.
 5        16.    Rather, Okularity lies in wait while DMCA Notices accumulate to the point
 6 where Instagram disables the account. Only then does Okularity begin to negotiate
 7 “settlement” for the alleged copyright claims. Okularity operates this way because
 8 Okularity knows that Instagram is the lifeblood of any digital media company,
 9 particularly one like Plaintiff Paper, which primarily is engaged in the business of
10 reporting and commentary of popular culture news and, as such, targets a young
11 demographic that uses Instagram as its primary source of media consumption. Okularity
12 knows that if a business like Paper has its Instagram account disabled, it has a
13 metaphorical gun to the head of the target company, since it also knows that Instagram
14 will not reinstate the account without a resolution of the “dispute.” With this type of
15 leverage, Okularity (and in turn the Clearinghouse Defendants) can demand sums that
16 they would never be able to demand with a straight face otherwise, putting owners of

17 even large businesses like Plaintiff in a life-or-death situation.
18        17.    The problem with Okularity’s scheme, however, is that it is illegal. By
19 submitting DMCA Notices on basis of false certifications under §§ 512(c)(3)(A)(v) and
20 512(c)(3)(A)(vi), Okularity has failed to follow the terms of the DMCA.
21        18.    More concerning, however, is that Defendants (1) are engaged in a scheme
22 to deprive Plaintiff of its digital assets through a pattern of fraudulent statements made
23 in DMCA Notices and directly to Plaintiff, (2) have intentionally interfered with
24 Plaintiff’s business by taking a course of action that they knew was substantially likely

25 to deprive them of one of their primary digital assets prior to asserting any legal claim
26 for settlement; and (3) are using unfair, fraudulent and illegal methods to carry out their
27 scheme, further detailed herein. This is so, because their certifications under §§
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 1 512(c)(3)(A)(v) and 512(c)(3)(A)(vi) are false and/or made purposefully without regard
 2 for whether they are true.

 3                                  Plaintiff Paper Magazine
 4        19.    Plaintiff is a New York City-based independent magazine focusing on
 5 fashion, popular culture, nightlife, music, art and film. Paper has gained popular
 6 renown for its online magazine and for its commentary on social media regarding
 7 current events on social media platforms like Instagram. Paper’s Instagram account had
 8 over one million followers, generated after years of providing content, before their
 9 account was disabled on July 8, 2020.
10        20.    Like many businesses based in New York, Plaintiff has faced
11 unprecedented disruption resulting from the devastating impact of COVID-19, including
12 dramatically reduced production capacity, lay-offs, and strict budgetary measures,
13 among them a reduction in personnel managing content.
14        21.    Adding to the managerial changes, since the closure of its physical office
15 space on March 16, 2020, Plaintiff has integrated a new management structure that
16 operates social media accounts remotely and by necessity without the pre-COVID

17 training and procedures that existed prior to the crisis.
18        22.    Plaintiff first learned the objective of Defendants scheme on July 8, when it
19 was informed by Instagram that it would be disabling Plaintiff’s account due to
20 Okularity’s repeated DMCA Notices.
21        23.    Plaintiff’s CEO immediately contacted Defendants, and was faced with the
22 extortionate demand of $1.01 million dollars, and a threat of $4.65 million of asserted
23 liability, in exchange for informing Instagram that the dispute was resolved so that
24 Plaintiff could get its asset back.

25                                         Defendants
26        24.    Okularity, which is not a law firm, purportedly “represents” the
27 “Clearinghouse Defendants” with respect to their Copyright “claims.” Okularity’s
28                                           5
                                  THIRD AMENDED COMPLAINT
 1 “CEO” Jon Nicolini, created the software Okularity deploys to file DMCA Notices, and
 2 negotiates “settlements” with victims of the scheme once they contact Okularity.

 3 Nicolini, who is not an attorney, implies that he is an attorney to victims by interpreting
 4 the application of the Copyright Act to images, engaging in damages analysis regarding
 5 “claims” of his “clients,” and by negotiating resolution of legal claims on their behalf.
 6           25.    Defendant BackGrid actively solicits members of the public, including
 7 persons with whom it has no relationship and about whom it has no knowledge, to
 8 upload to it photos which BackGrid will then ostensibly “license” (for payment) others
 9 to display and otherwise exploit. BackGrid then uses software to automatically generate
10 copyright management information (“CMI”) so that it can track whenever an image is
11 used. Since BackGrid conducts no due diligence of images uploaded to its website for
12 exploitation, and the corollary opportunity for abuse, BackGrid itself has been sued by
13 actual copyright holders for copyright infringement.2
14           26.    Defendant Splash is similarly a clearinghouse for photographs with a
15 checkered past. In 2018, Splash was sued by athletic star Odell Beckham for its
16 “predatory and distasteful” tactics, which included demanding payment from Mr.

17 Beckham for posting a picture of himself (taken by a paparazzo) on his very own social
18 media account. Beckham v. Splash, Case 2:18-cv-01001-JTM-JCW (E.D. La.).
19 Counsel for Beckham viewed the $40,000 demand as an attempt to “extort.”
20           27.    Okularity’s new business model pre-empts such lawsuits by using DMCA
21 Notices instead of demand letters. However, as alleged in Paragraphs 15 and 40 herein,
22 Okularity does not engage in any analysis prior to filing DMCA take-down notices as it
23 should.
24           28.    Rather, Nicolini operates the scheme with the sole objective to disable
25 social media accounts. Not only is no demand letter needed, the scheme makes it so that
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         See, e.g. Dlugolecki v. BackGrid, Case 2:18-cv-09400 (C.D. Cal.).
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                                    THIRD AMENDED COMPLAINT
 1 its victims come to Okularity, often in a state of desperation, once they realize their asset
 2 is being held hostage. This is precisely what occurred in the instant case.

 3                             Okularity’s Conduct Against Paper
 4        29.    It was only after Okularity filed at least thirty-four (34) or thirty-five (35)
 5 DMCA take-down notices against Paper (and possibly as many as forty-eight (48) such
 6 notices, or more) that Instagram disabled Paper’s account. The same day, July 8, 2020
 7 Paper was provided with the contact information of Nicolini, who immediately began
 8 negotiating the “claims.”
 9        30.    Nicolini suggested that Paper was facing $4.65 million in damages under
10 the Copyright Act. Nicolini curiously added that it was not his “first rodeo.” Indeed,
11 Nicolini has been engaged in the development of copyright trolling software since at
12 least 2012, when he worked as “Chief Technological Officer” for a similar scheme that
13 scraped bit torrent websites for information about users downloading copyrighted
14 pornographic material. The software was used to obtain IP addresses for the individuals
15 who downloaded the material, and who were subsequently threatened with a public
16 lawsuit if they did not pay Mr. Nicolini’s former employer their extortionate demands.3

17 A screenshot of Nicolini’s email to ENTTech’s CEO on July 8, 2020 is below:
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27  That “rodeo” ended with the attorney mastermind being sentenced to 14 years in prison
   https://www.startribune.com/judge-throws-the-book-at-minneapolis-lawyer-who-ran-a-
28 porn-trolling-scheme/511302022/?refresh=true
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                                  THIRD AMENDED COMPLAINT
 1        31.    Sixteen minutes later Nicolini wrote again, this time with apparent
 2 authority to communicate on behalf of his “clients” under Federal Rule of Evidence 408

 3 to settle for $1.01 million:
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17        32.    However, Nicolini is not an attorney and is therefore unable to assert legal
18 claims on behalf of anyone else, and likewise cannot negotiate and enter into
19 agreements on their behalf in the context of a copyright infringement claim or potential
20 lawsuit.
21        33.    Needless to say, this offer was unable to be accepted. In further effort to
22 reach a resolution, the undersigned requested Mr. Nicolini provide the DMCA notices
23 so that Plaintiff could assess the claims at issue. Nicolini has refused to do in the
24 absence of a “non-disclosure agreement.” When asked why a “non-disclosure

25 agreement” would be needed, Nicolini had no answer.
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                                  THIRD AMENDED COMPLAINT
 1         34.    Thus, Plaintiff brings the following claims against Defendants so that their
 2 conduct can be abated, so the court can enjoin Defendants’ unlawful business practices,

 3 and so that Plaintiff could have its account restored.
 4                                         COUNT ONE
 5                              (VIOLATION OF DMCA §512(f))
 6         35.    Plaintiff repeats and reincorporates the foregoing paragraphs as though set
 7   forth fully herein.
 8         36.    17 U.S.C. §512(f) provides that “[a]ny person who knowingly materially
 9   misrepresents under this section ... that material or activity is infringing ... shall be
10   liable for any damages, including costs and attorneys' fees, incurred by the alleged
11   infringer ... who is injured by such misrepresentation, as the result of ... relying upon
12   such misrepresentation in removing or disabling access to the material or activity
13   claimed to be infringing[.]
14         37.    On at least 34 or 35 instances in 2019 and 2020 (and possibly as many as
15   forty-eight (48) instances, or more) Defendants willfully, knowingly and materially
16   made third-party §512(f) misrepresentations to Instagram stating that Plaintiff's images,
17   some over three years old, were infringing intellectual property rights owned by one of
18   the Clearinghouse Defendants.
19         38.    In reliance on Defendants’ misrepresentations, Instagram disabled
20   Plaintiff’s account on July 8. At the time, Paper’s Instagram account has over a million
21   followers, and was a large source of revenue for Paper. Paper currently has various
22   business arrangement that include Paper’s publication on Instagram, and these business
23   transactions are threatened by Defendants’ misconduct.
24         39.    Defendants are aware that social media platforms like Instagram use
25   algorithms to disable accounts after any given account receives a certain amount of
26   DMCA notices. Once this threshold is met, Instagram’s policy is to not restore a user’s
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                                    THIRD AMENDED COMPLAINT
 1   account “until those [copyright] claims have been fully resolved by a court.” Instagram
 2   publishes its policies publicly.
 3        40.    As alleged in Paragraph 15 herein, Defendants’ misconduct includes its
 4   failure to take into consideration “fair use” as a defense to their alleged claims. Such
 5   consideration is particularly needed when (a) the DMCA notices are aimed at disabling
 6   a social media account that is in the business of commenting on popular news and
 7   culture, and (b) the photos are paparazzi-style celebrity candids, as to which, one of
 8   their own purported “authors” has previously testified at length that “[m]y work taking
 9   photographs of celebrities did not require any invention, imagination or talent.” See
10   Declaration of Hakop Arshakyan in Opposition to Defendant x17’s Motion for Partial
11   Summary Judgment, ¶¶ 23, 25, 27, Arshakyan, et al. v. X17, Inc., et al., Case No. 2:16-
12   cv-04305-TJH (RAOx) (C.D. Cal. Feb. 25, 2019). Their misconduct also includes
13   falsely certifying in DMCA notices that the Clearinghouse Defendants possess
14   exclusive rights, when they purposely do not know (because, they have not inquired)
15   whether any such rights exist.
16        41.    Not only did Defendants fail to consider ENTTech’s fair use and their own
17   exclusive rights, they never sent any demand letter to Plaintiff until after Instagram
18   disabled Plaintiff’s account. Nor is it clear that Okularity has any right to send DMCA
19   notices on behalf of BackGrid, Splash, or Xposure. To the contrary, in their Answer
20   filing of October 27, 2020 in this action, BackGrid, Splash and Xposure have recently
21   denied the allegation that Okularity was acting on their behalf. Compare Docket No.
22   46, ¶ 51 (alleging that Okularity did act on their behalf) with Docket No. 53, Answer ¶
23   51 (denying this allegation). This denial alone makes it unclear that Okularity had any
24   right to send DMCA notices on behalf of BackGrid, Splash, or Xposure. However,
25   ENTTech is informed and believes that Okularity did act on their behalf – at least, on
26   some of the occasions when Nicolini submitted the DMCA notices pertaining to
27   ENTTech, if not all of them.
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                                    THIRD AMENDED COMPLAINT
 1         42.     In this regard, Defendants have been unwilling to provide to Plaintiff
 2   evidence of their right to file DMCA notice or any evidence of their representation of
 3   any claims.
 4         43.     Plaintiff seeks damages and attorneys’ fees for Defendants’ bad-faith
 5   conduct under 17 U.S.C. §512(f)
 6                                         COUNT TWO
 7                                      (Violation of RICO)
 8         44.     Plaintiff incorporates the allegations contained in the foregoing paragraphs
 9 as though fully set forth herein in their entirety.
10         45.     18 USC § 1962(c) provides in relevant part:
11                 (c) It shall be unlawful for any person employed by or associated with any
12         enterprise engaged in, or the activities of which affect, interstate or foreign
13         commerce, to conduct or participate, directly or indirectly, in the conduct of such
14         enterprise’s affairs through a pattern of racketeering activity…
15         46.     18 USC § 1961(1)(A) defines “racketeering activity” in pertinent part as
16 “any act or threat involving … bribery, [or] extortion…which is chargeable under State

17 law and punishable by imprisonment for more than one year…” Extortion also includes
18 anyone who “obstructs, delays, or affects commerce or the movement of any article or
19 commodity in commerce,” 18 USCS § 1951
20         47.     Racketeering activity also includes any scheme using the mails or wires in
21 furtherance of a scheme to defraud. The fraudulent statements themselves need not be
22 transmitted by mail or wire; it is only required that the scheme to defraud be advanced,
23 concealed or furthered by the use of the U.S. mail or wires. See 18 U.S.C. §§ 1341,
24 1343.

25         48.     At all relevant times, Okularity, Nicolini, BackGrid, Splash, and Xposure
26 were “persons” under the meaning of 18 U.S.C. § 1961(3), because they are all “capable
27 of holding a legal or beneficial interest in property.”
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                                   THIRD AMENDED COMPLAINT
 1        49.   Okularity was associated with the association-in-fact enterprise described
 2 herein as the “Okularity Enterprise,” because it was the vehicle upon which the scheme

 3 to defraud predicated its scheme of extortion. Plaintiff is informed and believes that the
 4 Clearinghouse Defendants participated in the conduct of the enterprise by designating
 5 Okularity (and thus, Nicolini) as their “copyright agent” and by accepting a share of the
 6 unlawful profits of the enterprise.
 7        50.   Okularity sent fraudulent DMCA notices to Instagram, ostensibly on behalf
 8 of the Clearinghouse Defendants, with the purpose to defraud Instagram into disabling
 9 Plaintiff’s account with Instagram. Okularity did so numerous times in June 2020.
10 Each time, Nicolini requested:
11        *** PLEASE NOTE we’ve already sent 13 [and various other numbers, at
12        different times] takedown notifications for the account in question:
13        papermagazine. The Instagram Terms of Use clearly state: “If you repeatedly
14        infringe other people’s intellectual property rights, we will disable your account
15        when appropriate.” Thus, we strongly urge you to disable this account
16        immediately. ***
17 Doing so was objectively unreasonable, and it was subjectively a sham, because
18 Okularity and Nicolini knew that they had not undertaken a good faith assessment of
19 whether Plaintiff’s use of any images was not authorized by the law. This knowledge is
20 imputed to their principals, namely, the Clearinghouse Defendants. In fact, the
21 Clearinghouse Defendants had no right to issue DMCA notices. This is because the
22 Clearinghouse Defendants did not possess exclusive rights in the photos. To the
23 contrary, the authors of the photographs had previously granted licenses (express or
24 implied) that allowed others to publish or promote them. At least one of the photos (and

25 possibly more than one) had been posted on Instagram, thereby affording Instagram an
26 express license (under the Instagram terms of use) to publish it. For instance:
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                                 THIRD AMENDED COMPLAINT
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13 The Clearinghouse Defendants attached the same photograph as part of an exhibit to
14 their fraudulent and extortionate complaint in the Second Action (Docket No. 1-5 at
15 Page ID #57). Yet, the Instagram terms of use expressly stated that “when you share,
16 post or upload content that is covered by intellectual property rights (like photos or

17 videos) … you hereby grant to us a non-exclusive, royalty-free, transferable, sub-
18 licensable, worldwide license to host, use, distribute, modify, run, copy, publicly
19 perform or display, translate, and create derivative works of your content ….”
20 According to publicly-available copyright registration documents, three of the
21 photographs are actually owned by AKM-GSI Media, Inc. – and not Okularity,
22 BackGrid, Splash or Xposure. (Those three photos were listed on lines 3, 4 and 5 of a
23 spreadsheet chart that Nicolini emailed to ENTTech on July 8, 2020.) According to
24 another copyright registration document, “rights and permissions” for one of the

25 photographs are owned jointly – not exclusively – by Maria Buda of AKM-GSI Media,
26 Inc. and BackGrid. (This photo was listed twice, duplicatively, on lines 6 and 7 of the
27 spreadsheet chart from Nicolini.) Many (if not all) of the photos were also distributed
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                                  THIRD AMENDED COMPLAINT
 1 widely across other internet sites, thereby implicitly licensing the public at large to use
 2 them. For instance:

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                                  THIRD AMENDED COMPLAINT
 1 The Clearinghouse Defendants attached a partly-cropped copy of the same photograph
 2 as an exhibit to their sham complaint in the Second Action (Docket No. 1-4 at Page ID

 3 #38-39). In some of those instances, the publishers expressly gave “photo credit” to
 4 other entities – other than these Clearinghouse Defendants – such as “SPW” and
 5 “THEREALSPW.”
 6        51.   Those DMCA notices were fraudulent because they each contained “[a]
 7 statement that the complaining party has a good faith belief that use of the material in
 8 the manner complained of is not authorized by the copyright owner, its agent, or the
 9 law.” Plaintiff does not actually know with certainty whether all of the notices
10 contained this statement – because, Defendants have disregarded its requests to see
11 copies of the notices – but such a statement is required by § 512(c)(3)(A)(v) of the
12 DMCA, which makes it highly likely that each of the notices did contain exactly this
13 statement. Defendants knew that this statement was false (which is, in fact, the reason
14 why they are concealing their DMCA notices from Plaintiff). When Okularity (acting
15 through Nicolini), submitted the DMCA notices to Instagram (on behalf of their
16 principals, the Clearinghouse Defendants BackGrid, Splash, and Xposure), Nicolini

17 knew (and thus, Okularity and all of its principals also knew) that no “good faith” basis
18 existed for believing that Plaintiff’s uses of the images were unauthorized. Rather, the
19 Defendants all knew that the notices were based solely on the results of a software
20 application created to scan the internet for copies of images in which copyrights had
21 been claimed – without any inquiry (much less, a good faith inquiry) into whether the
22 uses of those images were “authorized by the copyright owner, its agent, or the law.”
23 See generally Lenz v. Universal Music Corp., 815 F.3d 1145, 1151-56 (9th Cir. 2016).
24 Nicolini’s subsequent denial of this fact is untruthful, as alleged in Paragraphs 15 and 40

25 herein. Nicolini also knew (and thus, Okularity and all of its principals also knew) that
26 no good faith basis existed for believing that “the complaining party is authorized to act
27 on behalf of the owner of an exclusive right that is allegedly infringed,” as required by §
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                                 THIRD AMENDED COMPLAINT
 1 512(c)(3)(A)(vi). This is so, because nobody made any inquiry to determine whether
 2 BackGrid, Splash or Xposure owned any “exclusive right[s].” It is also unclear

 3 whether, in fact, Okularity was really acting on their behalf when it submitted each of
 4 the notices to Instagram. ENTTech is informed and believes that Okularity (through
 5 Nicolini) was acting on their behalf – at least, on some of the occasions when Nicolini
 6 submitted the DMCA notices, if not all of those occasions – because BackGrid, Splash
 7 and Xposure attached copies of Okularity’s DMCA notices to their own pleadings in
 8 subsequent litigation, and those notices by Okularity (through Nicolini) each explicitly
 9 claimed “[w]e represent” one of them, and also because their Answer filing of October
10 27, 2020 in this action states that “[t]he Photo Agencies admit that Okularity was
11 designated as a ‘copyright agent,’ ….” See Docket No. 53, Answer ¶ 49. However, that
12 could be incorrect, wholly or perhaps only partly; at the time of this pleading by
13 ENTTech, only the Defendants themselves actually know the precise nature and scope
14 of Okularity’s and Nicolini’s authority, if any, on any of those occasions.
15        52.   The Okularity Enterprise and its members also engaged in multiple acts of
16 extortion, as defined under 18 USC § 1951. After bombarding Instagram accounts

17 belonging to victims like Plaintiff with improper DMCA Notices, Okularity and
18 Nicolini lie in wait until Instagram eventually disables the victim’s account. As alleged
19 herein, those notices are improper because the certifications required by §
20 512(c)(3)(A)(v) and § 512(c)(3)(A)(vi) are untruthful. Only then do Okularity and
21 Nicolini begin to negotiate settlement of their “copyright claims.” In operating in this
22 way, Okularity and Nicolini “obstructs, delays, or affects commerce or the movement of
23 any article or commodity in commerce,” under 18 USC § 1951.
24        53.   The Clearinghouse Defendants have recently continued their conduct of the
25 Okularity Enterprise by filing a second, separate lawsuit on July 29, 2020 (Case No.
26 2:20-cv-06803, or the “Second Action”), which sought to enjoin Plaintiff’s use of the
27 images identified in the DMCA Notices on Instagram – again, purposely without regard
28                                          16
                                 THIRD AMENDED COMPLAINT
 1 to the truth or falsity of the allegation that any of Plaintiff’s uses of the photographs was
 2 prohibited by law. Thereafter, the Clearinghouse Defendants filed a First Amended

 3 Complaint in the Second Action on August 14, 2020. That was all a purposeful sham,
 4 because the Clearinghouse Defendants purposely undertook no inquiry to determine
 5 whether “fair use” authorized ENTTech’s use of each or any of the images, and because
 6 the Clearinghouse Defendants also purposely undertook no inquiry to determine
 7 whether they possessed the exclusive rights needed for bringing a copyright action.
 8 Under the Copyright Act, only the “legal or beneficial owner of an exclusive right under
 9 a copyright” has standing to sue for infringement of that right. See 17 U.S.C. § 501(b);
10 Righthaven LLC v. Hoehn, 716 F.3d 1166, 1169 (9th Cir. 2013). In fact, many or all of
11 the photographs possessed no originality sufficient to overcome any “fair use” by
12 ENTTech, and in fact, the Clearinghouse Defendants did not own exclusive rights to
13 them all (if to any). This was all done for a purpose that the Clearinghouse Defendants
14 subjectively understood was improper. Defendants are aware that Instagram’s policy is
15 to prohibit access to a disabled account when a claim for injunctive relief is filed –
16 without regard for whether such a claim is believed subjectively to be valid, and without

17 regard to whether it is objectively invalid. Their alleged claim for injunctive relief in
18 the Second Action was a sham, because the Clearinghouse Defendants never even
19 moved for any injunctive relief at all. Thus, the only effect of their claim for injunctive
20 relief in the Second Action was that Plaintiff’s Instagram account remained disabled,
21 pursuant to Instagram’s internal policy, and so that the Clearinghouse Defendants can
22 continue with the same fraudulent and extortionate scheme commenced by Okularity
23 and Nicolini.
24        54.    The Court in the Second Action dismissed the First Amended Complaint
25 without prejudice, and that case is now closed. Among other reasons, the prayer for
26 injunctive relief in the Second Action – seeking removal of the claimed images from
27 Instagram – was objectively a sham, because it had the intended and the perverse effect
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                                  THIRD AMENDED COMPLAINT
 1 of ensuring that Plaintiff cannot remove any images from its Instagram account, for the
 2 simple fact that they cannot obtain access to the account under Instagram’s policies.

 3 Again, all the Defendants are aware of this, and they have continued to refuse to allow
 4 Plaintiff access to its Instagram account so that it might remove the subject images.
 5 Instead, they have continued to make extortionate demands based on the leverage they
 6 obtained solely from their own misconduct – such as one of their attorneys offering
 7 explicitly “to withdraw our request for injunctive relief and the [Instagram] account can
 8 go back up,” but only if Plaintiff were to concede liability on the unfounded copyright
 9 infringement claims of the Clearinghouse Defendants in the Second Action and submit
10 to arbitration concerning the claimed “damages.” An executive of Defendant BackGrid
11 subsequently emailed Plaintiff’s CEO, offering a purported “discount” off the earlier
12 extortionate demands – while adding, “[a]s soon as every party has signed to
13 acknowledge agreement with these terms, I’ll tell my attorneys to allow your website
14 [sic] to go back up while they prepare a formal settlement agreement.” None of the
15 Defendants has any plausible legal right to control Plaintiff’s access to its disabled
16 Instagram account, and they all consciously know this. The counterclaims contained in

17 the subsequent Docket No. 48 filing by BackGrid, Splash and Xposure in this action on
18 October 20, 2020 and in their Answer filing of October 27, 2020 in this action were (and
19 still are) improper and unlawful for the same reasons as the Second Action was a sham
20 lawsuit.
21         55.   Plaintiff was injured by Defendants’ scheme to defraud and extort because
22 it caused Instagram to disable Plaintiff’s use of Instagram, which was its main source of
23 revenue at the time the account was disabled. Defendants knowingly obstructed
24 Plaintiff’s ability to engage in commerce through improper means, which has caused,

25 and will continue to cause Plaintiff significant damage, as yet to be ascertained.
26         56.   On information and belief, the above scheme has been continuous since
27 2018.
28                                           18
                                  THIRD AMENDED COMPLAINT
 1       57.    Plaintiff seeks compensatory damages, treble damages, and its reasonable
 2 expenses (including attorney’s fees) under the RICO statute.

 3                                           PRAYER
 4       WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
 5       1.     For general damages in an amount to be proven at trial;
 6       2.     For pre-judgment interest;
 7       3.     For treble damages under Count 2;
 8       4.     For attorneys’ fees under Count 1 and Count 2;
 9       5.     For costs of suit; and
10       For such other and further relief as the court deems just and proper.
11
12
13 DATED: November 13, 2020                     TAULER SMITH LLP
14
15
                                         By:    /s/ Robert Tauler
16                                              Robert Tauler
                                                Attorneys for Plaintiff
17                                              ENTTech Media Group LLC
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28                                          19
                                 THIRD AMENDED COMPLAINT
 1                            CERTIFICATE OF SERVICE
 2

 3       I hereby certify that on November 13, 2020, copies of the foregoing document were
 4 served to all counsel of record through the Court’s CM/ECF system.
 5
     DATED: November 13, 2020                  TAULER SMITH LLP
 6
 7
 8                                      By:   /s/ Robert Tauler
 9                                            Robert Tauler
                                              Attorneys for Plaintiff
10                                            ENTTech Media Group LLC

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                                THIRD AMENDED COMPLAINT
